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We'stlaw,

1 T A C § 81.71                                                                                                  Page 1


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                                                              whether information on the presented ID document
                                                              matches elements of the voter's information on the
                                                              official list of registered voters such as the voter's
Texas Administrative Code Currentness
                                                              residence address or date of birth, which may be
  Title 1. Administration
                                                              strong indicators that the name on the presented ID
      Part 4. Office of the Secretary of State
                                                              document is substantially similar to the name on the
           Chapter 81. Elections
            N                                                 official list of registered voters and vice versa if:
             !sl Subchapter E. Election Day Procedures
                     § 81.71. Substantially Similar
                Name Standards and Identity Verifica-             (1) The name on the presented ID document is
                tion                                              slightly different from one or more of the name
                                                                  fields on the official list of registered voters or
                                                                  one or more of the name fields on the official list
(a) When a voter offers to vote at a polling place using
                                                                  of registered voters is slightly different from the
a form of identification described by § 63.0101 of the
                                                                  name on the presented ID document;
Texas Election Code ("presented ID document") and
the voter's name on the presented ID document does
not match exactly the voter's name as it appears on the           (2) The name on the presented ID document or on
official list of registered voters, the voter's name on           the official list of registered voters is a customary
the presented ID document must be "substantially                  variation of the formal name such as, for illustra-
similar" to the voter's name as it appears on the official        tive purposes only, Bill for William, or Beto for
list of registered voters.                                        Alberto, that is on the document or list that must
                                                                  match, as the case may be;

(b) In determining whether a voter's name on the
presented ID document is substantially similar to the             (3) The voter's name on the presented ID docu-
voter's name as it appears on the official list of regis-         ment contains an initial, a middle name, or a
tered voters, the reviewing early voting clerk, deputy            former name that is not on the official list of
early voting clerk, election judge or election clerk              registered voters or the official list of registered
(collectively included in the term "election worker")             voters contains an initial, a middle name, or a
shall refer to the standards in subsection (c) of this            former name that is not on the presented ID
section.                                                          document; or


(c) A voter's name on the presented ID document is                (4) A first name, middle name, former name, or

considered substantially similar to the name on the               initial of the voter's name that occupies a different

official list of registered voters and a voter's name on          field on the presented ID document than a first

the official list of registered voters is considered sub-         name, middle name, former name, or initial of the

stantially similar to the name on the presented ID                voter's name on the official list of registered vot-

document if one or more of the circumstances in                   ers.

paragraphs (l)-(4) of this subsection are present. In
determining whether one or more of those circum-              (d) If the reviewing election worker makes a deter-
stances are present, election workers should consider         mination that the voter's name on the presented ID


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                                                                                                                          exhibitsticker.com




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1 TAC § 81.71                                                                                                     Page 2

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document and the official list of registered voters are       was not substantially similar to the name on the offi-
substantially similar, the voter shall be accepted for        cial list of registered voters, or the voter's identity
voting if the voter accepts the "Similar Name Affida-         cannot be verified from the provided identification,
vit" prescribed by the Secretary of State stating that        the voter is eligible to submit official documentation
the voter offering the presented ID document is the           to the voter registrar to verify their identity. Official
same person on the official list of registered voters.        documentation includes:


(e) After the determination is complete, the presented             (1) a marriage license;
ID document must be returned to the voter immedi-
ately.                                                             (2) a court order reflecting change of name;


(f) The completed Similar Name Affidavit, included in              (3) a letter from licensed physician; or
the signature roster or combination form, shall be
placed in Envelope No. 4 (or other designated con-
                                                                   (4) affidavit stating that the person is the same
tainer) to be delivered to the county voter registrar.
                                                                  person named on the identification provided.

(g) If the reviewing election worker makes a deter-
                                                              (j) In determining whether an ID document presented
mination that the voter's names on the presented ID
                                                              to the voter registrar under subsection (h) of this sec-
document and the official list of registered voters are
                                                              tion is substantially similar to the voter's name on the
not substantially similar, the voter shall be offered a
                                                              official list of registered voters, the voter registrar
provisional ballot. The voter shall be processed as a
                                                              shall utilize the processes outlined in subsections (c)
provisional voter in accordance with the provisional
                                                              and (d) of this section.
voter process established under Texas law, at the time
of voting.
                                                              Source: The provisions of this §81.71 adopted to be
                                                              effective November 20, 2011, 36 TexReg 7655;
(h) If the voter casts a provisional ballot due to a de-
                                                              amended to be effective April 3, 2014, 39 TexReg
termination by the election worker that the name on
                                                              2263.
the presented ID document was not substantially sim-
ilar to the name on the official list of registered voters,
                                                              1 TAC § 81.71, 1 TX ADC § 81.71
the voter is eligible to submit a form of identification
described by § 63.0101 of the Texas Election Code,
including the presented ID document that the voter            Current through 39 Tex.Reg. No. 5000, dated June 27,
presented at the polling place, in person to the voter        2014, as effective on or before June 30, 2014
registrar's office within six days of election day pur-
suant to Texas law. The voter shall be informed of this       Copr. (C) 2014. All rights reserved.
procedure at the time the voter casts his or her provi-
sional ballot.                                                END OF DOCUMENT


(i) In addition to the procedure described under sub-
section (h) of this section, if the voter casts a provi-
sional ballot due to a determination by the election
worker that the name on the presented ID document




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